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     Dina L. Santos, SBN 204200
 1   A Professional Law Corp.
     428 J St., Suite 350
 2   Sacramento, CA 95814
     (916) 447-0160
 3
     Attorney for Defendant,
 4   Yusen Valenzuela Herrera
 5
                                  UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                 )    Case No. CR S 14-00326 - GEB
     UNITED STATES OF AMERICA,                     )
 9                                                 )    STIPULATION AND PROPOSED ORDER
                     Plaintiff,                    )    SETTING MATTER FOR JUDGEMENT
10                                                 )    AND SENTENCING
            v.                                     )
11                                                 )
     YUSEN VALENZUELA-HERRERA                      )
12                                                 )
                     Defendant                     )
13
            The parties hereto stipulate that the judgment and sentencing hearing now set for April
14

15
     15, 2016, be continued to April 22, 2016 at 9:00 a.m. for judgment and sentencing. Probation

16   has been advised of the new date.

17   DATED: April 12, 2016                       /s/ Dina L. Santos
                                                 Attorney for Defendant,
18                                               Yusen Valenzuela-Herrera
19

20   DATED: April 12, 2016                       /s/ Josh Sigal,
                                                 JOSH SIGAL
21                                               Assistant U.S. Attorney

22
     IT IS SO ORDERED.
23

24   Dated: April 13, 2016

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